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                                                         March 15, 2018

VIA ECF ONLY
Judge Claire R. Kelly
U.S. Court of International Trade
One Federal Plaza
New York, New York 10278-0001

         Re:          Lewis v. American Sugar Refining, Inc., et al
                      Civil Action No. 14-cv-02302

Dear Judge Kelly:

        This office represents Defendant American Sugar Refining, Inc. and Mehandra Ramphal
(collectively, the “Defendants”) in the above-referenced matter. A pretrial conference is scheduled
before Your Honor on Monday, March 19, 2018. Please allow this letter to identify an issue that
we intend to raise at the pretrial conference.

         Specifically, this office seeks to have the jury consider punitive damages only after it
determines liability and compensatory damages. Otherwise, the jury will hear irrelevant and
prejudicial testimony about the Defendants’ financial information and gross revenue that has no
tendency to prove or disprove any material fact at issue relating to compensatory damages or
liability. I raised this issue today with Nathanial Charney, Plaintiff’s counsel, in a good faith effort
to meet and confer. If Plaintiff’s counsel intends to object to this request, and if Your Honor even
deems it necessary, this office would request a very limited briefing schedule on this issue in an
expedited fashion with letter briefs not to exceed five (5) pages. It is this office’s position that the
law is crystal clear that any evidence as to the Defendants’ financial information is irrelevant
pursuant to Federal Rule of Evidence 402, and grossly prejudicial, under Federal Rule of Evidence
403, in the liability and compensatory damages phase of a trial.

        There is an abundance of case law to support this conclusion, but this office is choosing
not to include same in this letter to avoid the appearance that we are trying to brief the issue in
disguise. That is not our intent. Our intent is simply to apprise Your Honor of this potential issue
and that this office attempted to meet and confer with Plaintiff’s counsel regarding same today.


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      We look forward to addressing this with Your Honor on Monday.



                                                 Respectfully submitted,

                                                 /s/ Michael T. Hensley

                                                 Michael T. Hensley


MTH/bjt
cc:  Nathaniel K. Charney, Esq. (via ECF only)
